Case 4:19-cv-01209 Document 20 Filed on 01/13/20 in TXSD Page 1 of 2

EXHIBIT 1 TO SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JANE DOE, §
Plaintiff; §
J : Civil Action No. 4:19-CV-1209
§
PRAIRIE VIEW A&M UNIVERSITY, §
Defendant. §

AGREED MOTION TO DISMISS WITH PREJUDICE

 

Plaintiff Jane Doe and Defendant Prairie View A&M University jointly request that this

Court enter an order dismissing all claims in the suit in the above-captioned case with prejudice.

WU eine Ogee
Muhammad 8. Aziz

maziz@awtxlaw.com
Michelle A. Ciolek

meiolek@awtxlaw.com

ABRAHAM, WATKINS, NICHOLS, SORRELS,
AGOSTA & AZIZ

800 Commerce Street

Houston, Texas 77002

(713) 222-7211

FAX: (713) 225-0827

L S/
E . 24046302
outhern District No’ 852368

Respectfully submitted,

KEN PAXTON
Attorney General of Texas

JEFFREY C. MATEER
First Assistant Attorney General

DARREN MCCARTY
Deputy Attorney General for Civil Litigation

    
 

GHT
tigation Division

 

 

Attorney-in-Charge

GLORIENI M. AZEREDO
Texas Bar No. 24077840
Southern District No. 3339635
Assistant Attorneys General
Office of the Attorney General
General Litigation Division
P.O, Box 12548, Capitol Station

eer

 

Release and Settlement Agreement

Page 7 of 9

Jane Doe v. Prairie View A&M University - Civil Action No, 4:19-cv-01209
Case 4:19-cv-01209 Document 20 Filed on 01/13/20 in TXSD Page 2 of 2

Austin, Texas 78711-2548
(512) 463-2120 | FAX: (512) 320-0667

carl. myers(@oag.texas.20V

lorieni.azeredo(@oag.texas. gov

 

     

Release and Settlement Agreement oo Page 8 of 9
Jane Doe v, Prairie View A&M University - Civil Action No. 4:19-cv-01209
